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From: Hans Stolfus EQ epicgames.com>

Sent: Wed, 15 Apr 2020 01:59:12 +0000 (UTC)

To: Lawrence Koh I 0 00g1e.com>

Ce: Ed Zobrist (ED epicgames.com>; Purnima Kochikar SEQ. google. com>
Subject: Re: Follow up to our Google Meet chat

Thanks, Lawrence. Just added our Producer to the invite. Speak to you tomorrow morning.
Hans

Hi Hans,
If okay with your team, it'll be great if we can mect at 9am pacific on a daily basis for the next several days

leading up to the launch. Will add this to your calendar and please feel free to add others on your team.
As for your question, will check in with the team and get back to you with a response shortly.

Lawrence

On Tue, Apr 14, 2020 at 5:50 PM Hans Stolfus A 2 «i ccames.com> wrote:

Lawrence / Purnima,
Nice meeting both of you. Look forward to connecting and working with you on this project.

What time works best for you each day? I'd like to include our senior producer on the build submission as
well, so just want to make sure he's available.

Quick question in the meantime: just updating the store listing and noticed there's no 'Save' functionality
enabled by page. Is this because the app has been removed? If so, does this mean we need to start over from
scratch or can we still build off of what has already been uploaded?

sereeceecrecececeocreccceorooiecectegpe,

Hans

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EXHIBIT 10193-001
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On Tue, Apr 14, 2020 at 7:16 PM Ed Zobrist | @epicgames.com> wrote:

Hey Lawrence,
All is looking good and we're happy to arrange a daily 15min sync. I've copied Hans Stolfus who will be

point on our side setting that up. Thanks again for all your assistance!
Ed

On Tue, Apr 14, 2020 at 3:21 PM Lawrence Koh 2 0021¢.com> wrote:

Hi Ed,

Hope your team was able to successfully access the app account and submit/test the new build via the
internal QA track. Please feel free to reach out if you have any issues. And on that note, I was
wondering if you and I can set up 15min daily syncs starting tomorrow (around 9am pacific?) as we
prepare for the launch before the Apr 23 event. We want to ensure that the launch goes smoothly and
believe having a daily sync will help address any open items that need to be addressed as we get ready for
the launch. Let me know what you think.

Lawrence

On Mon, Apr 13, 2020 at 8:17 PM Purnima Kochikar BE 2: 0021e.com> wrote:

Hi Ed - apologies for the delay.

Thank you for sending a detailed email addressing the compliance issues raised by the policy team.
After reviewing your email and the appeal, the policy team has agreed to grant the appeal and lift the
suspension. Please allow a few hours for this to complete.

It is critically important that you ONLY publish to the the Internal QA track,which enables your engineers to
test the app, and the Google policy team to review the app.

Please let Lawrence and me know once you publish, so we can ensure that the review team prioritises it.
Thanks for working with us through this process. We are looking forward to supporting the launch.

P

On Mon, Apr 13, 2020 at 7:26 PM Ed Zobrist [MM epiceames.com> wrote:

Hey folks,

Any news on unblocking us so we can complete the build? The event we are, confidentially, stretching
towards is a music concert with Travis Scott on April 23rd. Last year we had a recorc CCU of 10.7M
for the Marshmello concert. It would be great for everyone if we got the build live before April 23.
Thanks,

Ed

On Thu, Apr 9, 2020 at 10:36 PM Purnima Kochikar BE) «0021e.com> wrote:

Ed - thanks for the quick follow up. Please give us until tomorrow to get back to you.
P

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On Thu, Apr 9, 2020 at 1:51 PM Ed Zobrist {MM @epicgames.com> wrote:

Hi Purnima and Lawrence,

Thanks for the meeting. We are looking forward to getting this submission squared away and moving forward
on the Google Play store. We appreciate your flexibility around the normal submission process--
reviewing the updated build before we send in our formal submission will help us address any
compliance issues without the risk of another strike.

On our call, Purnima requested that we send an email identifying 1) the changes to the new build made to
address the violations Google listed in the rejection/suspension notice for the prior Fortnite
submissions and 2) any technical reasons why Epic is unable to test a new build for compliance in
advance of submission and/or attach a current APK. Here you go:

1) As we discussed, Epic will submit an updated build that fully complies with Google’s policies and
restrictions. To that end, the new build will differ from past rejected build in these ways:

Old Build Issue: Violation of Google’s Payments policy due to providing a payment method other than Google
Play Billing for purchases. New Build Fix: Google Payment platform integrated and all other payment
platforms removed.

Old Build Issue: Violation of the Developer Distribution Agreement due to linking out to our website that
could be used to go to the sideloading flow text on our website. New Build Fix: We are removing the
sideloading flow text from our website to accommodate this request.

Old Build Issue: Build included the Epic Games App launcher. New Build Fix: The app will strictly be
Fortnite and not include the Epic Games App launcher.

2) The new build, and technical issues due to the block:

I discussed it with our engineers. We have no issue providing an AAB (App Bundle) before we submit for
publishing, but in order to make sure the build we provide fully complies with Google’s policies we
need to add Google’s billing platform into the app. And to add the billing platform, we need our
application suspension removed so that we can add purchase items and test on the internal test track.
I'm not sure there is value in sending anything now since it is not compliant, and we'd rather provide a
compliant build to you.

Please let us know if you can accommodate this request to remove our application suspensicn so that we can
create a compliant AAB and email it to you.

Thanks,
Ed

Head of Publishing

Epic Games
es.

Purnima Kochikar
Google Play, Apps & Games

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